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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 JOSEPH HARDESTY, ET AL.,                           :   Case No. 1:16-CV-00298
 Individually and on behalf of All                  :
 Others Similarly Situated                          :   Judge Timothy Black
                                                    :
                               Plaintiffs,          :
                                                    :   ENTRY GRANTING MOTION TO
        v.                                          :   FILE UNDER SEAL
                                                    :
 THE KROGER CO., et al.                             :
                                                    :
                               Defendants.          :


       This matter having come before the Court on the Parties’ Motion for Leave to File Under

Seal, said Motion is found to be well-taken and is hereby granted. Plaintiffs may file the exhibits

to their Motion for Summary Judgment under seal.

       IT IS SO ORDERED.




                                                        Judge Timothy Black




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